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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA



 YANPING CHEN,

                Plaintiff,

         v.
                                                      Civil Action No. 1:18-cv-03074-CRC
 FEDERAL BUREAU OF
 INVESTIGATION, UNITED STATES
 DEPARTMENT OF JUSTICE, UNITED
 STATES DEPARTMENT OF DEFENSE,
 and UNITED STATES DEPARTMENT OF
 HOMELAND SECURITY,

                Defendants.



          NOTICE OF WITHDRAWAL OF PATRICK CAROME AS COUNSEL

        Pursuant to D.C. Local Civil Rule 83.6(b), Patrick Carome hereby withdraws his

appearance as counsel for Plaintiff Dr. Yanping Chen in the above-captioned case. Matt Jones

and Jessica Lutkenhaus have previously entered appearances and remain as counsel for Dr.

Chen.

Dated: December 28, 2022

 /s/Yanping Chen                                /s/ Patrick Carome
 Yanping Chen                                   Patrick J. Carome (D.C. Bar No. 385676)
                                                Matt Jones (D.C. Bar No. 502943)
                                                Jessica Lutkenhaus (D.C. Bar No. 1046749)
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